Case 9:18-cv-81147-BB Document 143 Entered on FLSD Docket 04/07/2022 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-81147-BLOOM/Reinhart

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ISAC SCHWARZBAUM,

        Defendant.
  ______________________________/

                ORDER ON UNOPPOSED MOTION TO VACATE
        ORDER REQUIRING DEFENDANT TO REPATRIATE FOREIGN ASSETS

         THIS CAUSE is before the Court on Defendant Isac Schwarzbaum’s Unopposed Motion

  to Vacate Order Requiring Defendant to Repatriate Foreign Assets, ECF No. [142] (“Motion”). In

  the Motion, Defendant requests that the Court vacate its Order Requiring Defendant to Repatriate

  Foreign Assets, ECF No. [129] (“Repatriation Order”). Defendant contends that the Repatriation

  Order seeks to enforce the amended final judgment, ECF No. [105], which was vacated by the

  United States Court of Appeals for the Eleventh Circuit. See United States v. Schwarzbaum, 24

  F.4th 1355, 1367 (11th Cir. 2022). As such, Defendant requests that the Court vacate the

  Repatriation Order pursuant to Rule 60(b)(5) of the Federal Rules of Civil Procedure.

         Pursuant to Federal Rule of Civil Procedure Rule 60, courts may grant relief from a final

  judgment or order based upon a variety of specifically enumerated reasons. See Fed. R. Civ. P.

  60(b). Relevant here, Rule 60(b)(5) provides that a court may relieve a party from an order where

  “it is based on an earlier judgment that has been reversed or vacated[.]” Fed. R. Civ. P. 60(b)(5).

  Here, Defendant correctly notes, and the United States of America does not dispute, that the

  Repatriation Order was entered to enforce the amended judgment, which is no longer in force
Case 9:18-cv-81147-BB Document 143 Entered on FLSD Docket 04/07/2022 Page 2 of 2

                                                      Case No. 18-cv-81147-BLOOM/Reinhart


  following the Eleventh’s Circuit decision.

         Accordingly, the Court finds that the circumstances warrant vacating the Repatriation

  Order pursuant to Rule 60(b)(5). Therefore, it is ORDERED AND ADJUDGED, that the Motion,

  ECF No. [142], is GRANTED. The Repatriation Order, ECF No. [129], is VACATED.

         DONE AND ORDERED in Chambers at Miami, Florida, on April 7, 2022.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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